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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    CARO MARKS, Bar #159267
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     MICHELLE NICOLE JENSEN
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )     NO. CR-S-04-297-FCD
10                                   )
                    Plaintiff,       )
11                                   )     STIPULATION AND ORDER
          v.                         )
12                                   )
     MICHELLE NICOLE JENSEN AND JOHN )
13   SMITH,                          )     Date: December 19, 2005
                                     )     Time: 9:30 p.m.
14                  Defendant.       )     Judge: Frank C. Damrell
                                     )
15   _______________________________
16
          MICHELLE NICOLE JENSEN, by and through her counsel, Caro Marks,
17
     Assistant Federal Defender, JOHN SMITH, by and through his counsel,
18
     Robert Holley, and the United States Government, by and through its
19
     counsel, Carolyn Delaney, Assistant United States Attorney, hereby
20
     stipulate and agree to vacate the previously scheduled Status
21
     Conference date of November 14, 2005 and continue the matter for a
22
     Status Conference on December 19, 2005 at 9:30 a.m..
23
          This continuance is needed because defense counsel is conducting
24
     further investigation in this case and needs the continuance to
25
     complete this investigation and discuss the case with the client.
26
          Defense counsel has contacted AUSA Carolyn Delaney and she does
27
     not object to this continuance.
28
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1         IT IS FURTHER STIPULATED that the period from November 14, 2005 up
2    to and including December 19, 2005 be excluded in computing the time
3    within which trial must commence under the Speedy Trial Act, pursuant
4    to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of
5    counsel.
6
7                                           Respectfully submitted,
8                                           QUIN DENVIR
                                            Federal Defender
9
10                                          /s/ Caro Marks
                                            ________________________
11                                          CARO MARKS
                                            Assistant Federal Defender
12                                          Attorney for Defendant
                                            MICHELLE NICOLE JENSEN
13
     Dated: November 10, 2005               /s/ Troy Ellerman
14                                          _______________________________
                                            TROY ELLERMAN
15                                          Attorney for Defendant
                                            JOHN SMITH
16
17   Dated: November 10, 2005
18                                          MCGREGOR SCOTT
                                            United States Attorney
19
20                                          /s/ Carolyn Delaney
21                                          CAROLYN DELANEY
                                            Assistant U.S. Attorney
22
23                                       ORDER
24   IT IS SO ORDERED.
25   Dated: November 10, 2005
26                                          /s/Frank C. Damrell, Jr.
                                            FRANK C. DAMRELL
27                                          U.S. District Judge
28


                                            2
